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                                   UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION

 RE:       FELIX ARMANDO CUBA                                                                  CASE NUMBER: 25-10794-LMI


                     TRUSTEE'S NOTICE OF DEFICIENCY AND RECOMMENDATION
                      (If this case is dismissed, this deficiency is an objection to reinstate)

 The Trustee reviewed this case and found the following deficiencies remain unresolved from the Trustee’s letter
 or requirements under the Bankruptcy Code and Rules. The Trustee reserves the right to raise additional
 objections UNTIL all documents are provided to the Trustee and reviewed for issues raised and additional
 documents needed. See Court Notice of Commencement for additional information and Trustee’s website
 www.CH13miami.com for forms and procedures.

 As appropriate, all written responses or documents must be received through BKDOCS.US or filed with the
 Clerk by 5pm at least 15 days prior to the first confirmation hearing or agreed deadline if confirmation is
 continued. Pro Se debtors may fax documents to 954-443-4452. Late documents may not be reviewed or
 considered, and this case may be at risk of dismissal. The Trustee’s Office has a “Pre-call” date, THE
 THURSDAY PRIOR TO THE HEARING. During this period, the Debtor’s or Creditor’s attorney must call
 and speak to the Trustee’s staff attorney unless they agree to the Trustee’s recommendation. A final calendar
 will be published with any changes to this recommendation the day before the hearing on the front page of the
 Trustee’s website.

      ***RECOMMENDATIONS ARE CHANGED UPON REVIEW OF DOCUMENTS NOT
                                RECEIPT***
   THE DEBTOR’S ATTORNEY OR SELF REPRESENTED DEBTOR MUST APPEAR AT THE
             CONFIRMATION HEARING OR THE CASE MAY BE DISMISSED
TRUSTEE’S RECOMMENDATION FOR HEARING
                                                       LAST REVIEWED: 3/24/2025
                                                                                                       Objection to Exemption 522p
Plan served 1/29
If debtor’s counsel appears, confirms service, agrees to vesting and the recommendation on the record:
Continue to 5/6:
Due on or before 4/8: 1) Bank Account Statements: #6986 (12/25/24 – 1/25/25), 2) Amend Plan to include IVL,
3) Creditor paid through the Plan has not filed a POC (Sachem Capital Corp bar date 4/7), 4) Reg and payoff of
vehicles: 2020 Chevrolet, 5) amend plan to disclose creditor address for Sachem Capital in Section III.A, 6)
Affidavit of support (copy received is insufficient for amount listed on Schedule I), 7) LF 76 (Attorney
Compliance with Claims Review) Bar Date: 4/7/2025




I hereby certify that a true and correct copy of the foregoing was served through ECF on the debtor’s attorney or by U.S. First Class
pre-paid Mail on the pro se debtor on the same day filed with the Court.

                                                                  Submitted by:
                                                                  NANCY K. NEIDICH, ESQ, STANDING CHAPTER 13 TRUSTEE
                                                                  P.O. BOX 279806, MIRAMAR, FL 33027, (954) 443-4402
